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     IT IS ORDERED as set forth below:



     Date: April 7, 2021
                                                       _________________________________

                                                                  Sage M. Sigler
                                                           U.S. Bankruptcy Court Judge

 ________________________________________________________________




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                         :          CASE NO. 17-64941-SMS
                                               :
ROGER CARROLL BURGESS,                         :          CHAPTER 7
                                               :
         Debtor.                               :
                                                   :
                                               :
S. GREGORY HAYS, as Chapter 7 Trustee,         :
                                               :
         Movant,                               :
                                               :
v.                                             :          CONTESTED MATTER
                                               :
ROGER CARROLL BURGESS,                         :
                                               :
         Respondent.                           :
                                               :
                                               :

                   ORDER ON OBJECTION TO CLAIMED EXEMPTIONS

         On February 25, 2021, S. Gregory Hays, Chapter 7 Trustee (the “Trustee”) for the

bankruptcy estate (the “Estate”) of Roger Carroll Burgess (“Debtor”), filed Trustee’s Objection

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to Claimed Exemptions [Doc. No. 61] (the “Objection”), seeking, among other things, an order

from the Court disallowing Debtor’s claimed exemption (the “Exemption”) in a certain settlement

(the “Settlement”) of a certain personal injury claim asserted in a multi-district class action

litigation (the “Litigation”) in the amount of $48,796.25. More particularly, Trustee asserts that

Debtor is entitled to an exemption in the Settlement in the amount of $21,160.00 (i.e., a $10,000.00

exemption under O.C.G.A. § 44-13-100(a)(11)(D) and an $11,160.00 exemption under O.C.G.A.

§ 44-13-100 (a)(6)).

         Also on February 25, 2021, Trustee filed a notice of hearing [Doc. No. 61] (the “Notice”),

setting a hearing on the Objection on March 31, 2021 (the “Hearing”). Counsel for Trustee

certifies that he served the Objection and Notice on all necessary parties in interest, including

Debtor. [Doc. No. 61].

         No one filed a response to the Objection.

         Counsel for Trustee appeared at the calendar call for the Hearing. No party in interest

appeared to object to the relief that Trustee requested in the Objection.

         The Court having considered the Objection and the entire record in this matter; and, for

good cause shown, it is hereby

         ORDERED that the Objection is SUSTAINED: Debtor is allowed an Exemption in the

Settlement of the Litigation in the amount of $21,160.00, calculated as follows: a $10,000.00

exemption under O.C.G.A. § 44-13-100(a)(11)(D), and an $11,160.00 exemption under O.C.G.A.

§ 44-13-100 (a)(6).

                                     [END OF DOCUMENT]




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Order prepared and presented by:

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Identification of parties to be served:

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Roger Carroll Burgess, 2612 Leland Drive, Augusta, GA 30909

S. Gregory Hays, Hays Financial Consulting, LLC, Suite 555, 2964 Peachtree Road, Atlanta, GA
30305

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30363




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